                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                   No. CR08-4006-MWB
 vs.                                  ORDER CONCERNING
                                  MAGISTRATE’S REPORT AND
 DOUGLAS DEAN JOHNSON,          RECOMMENDATION REGARDING
                                   DEFENDANT’S MOTIONS TO
          Defendant.                      SUPPRESS
                     ____________________

                                  TABLE OF CONTENTS

I. INTRODUCTION AND BACKGROUND . . . . . . . . . . . . . . . . . . . . . . . . . . 2
      A. Procedural Background . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
      B. Factual Background . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

II. LEGAL ANALYSIS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
      A. Standard Of Review . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
      B. The Primghar Residence Search Warrant . . . . . . . . . . . . . . . . . . . . 14
      C. The Clay County Property Search Warrant . . . . . . . . . . . . . . . . . . . 14
            1.    Probable cause to search the Clay County property . . . . . . 14
            2.    Staleness of the information in the application . . . . . . . . . 19
            3.    Leon good faith . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22

III. CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22




   Case 5:08-cr-04006-MWB-LTS             Document 94        Filed 05/14/08     Page 1 of 23
                       I. INTRODUCTION AND BACKGROUND
                                A. Procedural Background
       On January 24, 2008, an indictment was returned against defendant Douglas Dean
Johnson charging him with conspiracy to manufacture and distribute 50 grams or more of
pure methamphetamine, to distribute pseudoephedrine knowing that it would be used in the
manufacture of methamphetamine and to possess pseudoephedrine, after having previously
being convicted of a felony drug offense, in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A), 841(c)(1), 841(c)(2), 846, and 851, and interstate travel in aid of
racketeering, in violation of 18 U.S.C. § 1952(a)(3). Defendant Johnson has filed two
motions to suppress (Dkt. #70 & #71). In one motion to suppress, defendant Johnson
seeks to suppress evidence seized from a Primghar, Iowa, residence during the execution
of a search warrant issued on May 8, 2007, while in the other he seeks to suppress
evidence seized during a search of his property, outbuildings, and curtilage in Clay
County, Iowa, during the execution of a search warrant issued on July 11, 2007.
       Defendant Johnson’s motion to suppress was referred to Chief United States
Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). Judge Zoss conducted
a hearing on defendant Johnson’s motions and then filed a Report and Recommendation
in which he concluded that the search warrant application for the Primghar residence failed
to support the state magistrate’s probable cause determination. Moreover, Judge Zoss
found that the search warrant application was so facially deficient that the state magistrate’s
issuance of a search warrant constituted “a rubber stamp for the police.” Judge Zoss,
thus, concluded that the exclusionary rule should be applied and the evidence seized during
the execution of the search warrant for the Primghar residence should be excluded. With
respect to the search warrant for the Clay County property, Judge Zoss found that the
totality of the information presented to the state magistrate supported the state magistrate’s

                                              2


   Case 5:08-cr-04006-MWB-LTS           Document 94       Filed 05/14/08     Page 2 of 23
probable cause determination. Judge Zoss further found that the information contained in
the search warrant application was not stale. Finally. Judge Zoss concluded that it was not
objectively unreasonable for the law enforcement officers here to proceed to execute the
search warrant for the Clay County property in these circumstances. Therefore, Judge
Zoss recommended defendant Johnson’s motion to suppress the evidence seized in the
search of the Primghar residence be granted while defendant Johnson’s motion to suppress
the evidence seized in the search of the Clay County property be denied. Defendant
Johnson has filed objections to Judge Zoss’s Report and Recommendation, but only with
respect to his motion to suppress evidence seized during a search of his property in Clay
County, Iowa. Neither party has filed objections concerning defendant Johnson’s motion
to suppress evidence seized from the Primghar residence. The court, therefore, undertakes
the necessary review of Judge Zoss’s recommended disposition of defendant Johnson’s
motions to suppress.


                                B. Factual Background
       In his Report and Recommendation, Judge Zoss made the following findings of fact:
                    On May 8, 2007, Lt. Randall Kramer, an O’Brien
              County Sheriff’s Deputy, prepared an Application for Search
              Warrant to search the following person and property:
              Douglas Dean Johnson
                     375 3rd Street N.W. Primghar, O’Brien County,
                     Iowa; Described as brown 1 1/2 story single
                     family dwelling with an attached 2 stall garage
                     (see attached O’Brien County Assessor’s sheet
                     and photos)
                     1991 Chev blue/silver pickup bearing Iowa
                     license [number]
                     1984 Chev Cavalier brown-bearing Iowa license [number]

                                            3


   Case 5:08-cr-04006-MWB-LTS          Document 94      Filed 05/14/08    Page 3 of 23
               2000 Ford Taurus blue-bearing Iowa license [number]
        Doc. No. 71-3 at 5. Lt. Kramer stated the above person and
        property contained “certain property, namely:
        Pseudoephedrine pills, lithium batteries, ether, sulfuric acid,
        muriatic acid, plastic tubing, glass ware, coffee filters,
        packaging materials, blender, aluminum foil,
        methamphetamines, drug paraphernalia, ledgers, scales,
        monies, [and] drug notes,” all of which he indicated was
        “[p]roperty that has been obtained in violation of law”;
        “[p]roperty, the possession of which is illegal”; “[p]roperty
        used or possessed with intent to be used as the means of
        committing a public offense or concealed to prevent an offense
        from being discovered”; and “[p]roperty relevant and material
        as evidence in a criminal prosecution.” Id. at 5-6.

                In support of the search warrant application, Lt. Kramer
        submitted an Affidavit in which he stated, “Doug Johnson has
        made the following purchases of products containing
        pseudoephedrine on the dates listed,” listing nine transactions
        between April 11 and April 26, 2007, at several pharmacies in
        Minnesota, and one pharmacy in Iowa. Id. at 10. He stated
        the nine pseudoephedrine purchases by “Doug Johnson in a 30
        day period” totaled “20.4 grams of pseudoephedrine.” Id. He
        cited “Iowa Code § 126.23A(2)a,” which he stated prohibits
        a person from purchasing more than 7500 milligrams, or 7.5
        grams, of pseudoephedrine in any 30-day period. He further
        stated the following:

               Based on this investigator[’]s training and
               experience it is known that persons that are
               involved with manufacturing methamphetamine
               will travel to several stores to obtain the
               pseudoephedrine pills, lithium batteries and other
               items that are needed to manufacture the
               methamphetamines. It is also known by this
               investigator based on his training and experience


                                       4


Case 5:08-cr-04006-MWB-LTS       Document 94      Filed 05/14/08     Page 4 of 23
               that persons involved in the gathering of the
               materials used in the manufacturing of
               methamphetamines, will store (hide) these items
               at their residence and/or in their vehicles. That
               persons involved with the gathering and/or
               manufacturing of methamphetamines will also be
               involved in the sale and/or use of illegal drugs
               and that they will store (hide) items such as
               pipes, scales, ledgers, illegal drugs, monies, and
               other drug paraphernalia at their residence
               and/or in their vehicles.
        Id.

               Lt. Kramer attached a printout from the O’Brien County
        Assessor’s Office showing that the real property located at 375
        3rd Street, N.W. in Primghar, Iowa, was owned by a Denise
        D. Moore f/k/a Denise D. Philiph, and listing certain
        information about the residence on the property (dimensions,
        number of bedrooms and bathrooms, finish, plumbing,
        appliances, etc.). He also attached an unlabeled photograph of
        a house, presumably the house in question. Id. at 7-9.

               No other information was provided in support of the
        search warrant application. The magistrate who reviewed the
        application indicated he had “relied on [the] written
        Application for Search Warrant of Randall Kramer,
        Attachment A [the Affidavit] and attached Asses[s]or record
        and photo.” Id. at 11. Under “Abstract of Testimony,” the
        magistrate wrote “None,” indicating no further information
        was received beyond that set forth in the application. Id.

              In the application for the search warrant and the
        supporting documents, Lt. Kramer made no connection
        whatsoever between Johnson and the property to be searched,
        nor did he inform the court how he determined that the
        defendant Douglas Dean Johnson was the same “Doug


                                       5


Case 5:08-cr-04006-MWB-LTS       Document 94      Filed 05/14/08    Page 5 of 23
        Johnson” who purchased the pseudoephedrine. The officer
        provided no information to indicate Johnson’s connection to
        the residence sought to be searched; his relationship, if any, to
        or with the property owner Ms. Moore; who owned the
        vehicles listed in the warrant application and what their
        connection was to the residence or to Johnson; or what
        information led the officer to believe evidence of criminal
        activity might be found at the residence, in the vehicles, or on
        Johnson’s person. Regarding the list of pseudoephedrine
        purchases, the officer stated he had “conducted an
        investigation and received information from fellow officers and
        other sources” indicating “Doug Johnson” had made the listed
        pseudoephedrine purchases. See Doc. No. 71-3 at 10. He
        failed to cite the source of his information sufficiently for the
        court to determine if the source was reliable.
                ...

                On July 11, 2007, Clay County Sheriff’s Deputy Casey
        Timmer prepared an Application for Search Warrant to search
        “a Morton-type building on the property of Doug Johnson
        located at 2970 290th Street, Dickens, Clay County, Iowa,
        other outbuildings on the property, [and] the curtilage of said
        property,” for “pseudoephedrine, methamphetamine, ledger
        books, books of account, scales, seal a meal machines, baggies
        or other packaging materials, paraphernalia used for the
        consumption and packaging of drugs or to contain the same,
        money, and remnants of methamphetamine lab[.]” Doc.
        No. 70-3 at 2. In support of the warrant application, Deputy
        Timmer prepared an affidavit in which he detailed
        pseudoephedrine purchases by “Doug Johnson” between
        June 18 and 26, 2007, totaling 10,320 mg., in excess of the
        legal limit of 7500 mg. in a thirty-day period under Iowa law.
        See id. at 3-4.

               In his affidavit, Deputy Timmer also provided the
        following information:


                                       6


Case 5:08-cr-04006-MWB-LTS       Document 94       Filed 05/14/08     Page 6 of 23
                     The [pharmacy] logs show a Primghar
              address for Johnson. The undersigned is aware
              that Johnson also owns a property located at
              2970 290th Street, Dickens, Clay County, Iowa.
              On this date [i.e. July 11, 2007], the
              undersigned went to that property with O’Brien
              County Lt. Randy Kramer. While at the
              residence, the undersigned spoke with the
              tenants of the property, Randy and Kim Berger.
              Tenants advised that they do not have access to
              a certain Morton-type building on the property,
              but that Johnson does frequent that building at
              least weekly. The undersigned could see that the
              windows of the building are covered with a
              combination of wood, cardboard, and styrofoam.
              Tenants also showed the undersigned a burn
              barrel on the premises. In plain view toward the
              top of the pile in the burn barrel were a number
              of ripped lithium batteries, consistent with
              having been used in the methamphetamine
              manufacturing process, along with what appears
              to be empty pseudoephedrine blister packs.
              There are a number of other outbuildings on the
              premises where illegal items could be stored.
                     Based on training and experience, I know
              that persons manufacturing methamphetamine
              can and do use other people to purchase
              pseudoephedrine for them. Pseudoephedrine is
              a key ingredient in the manufacture of
              methamphetamine.              People buying
              pseudoephedrine for methamphetamine
              manufacturers often receive methamphetamine in
              exchange for these purchases. These persons
              also will shop different stores on the same date
              in an attempt to avoid detection by law
              enforcement. As users of methamphetamine,


                                     7


Case 5:08-cr-04006-MWB-LTS     Document 94      Filed 05/14/08   Page 7 of 23
                    they often maintain drugs, paraphernalia, notes,
                    and cash for the purchases of pseudoephedrine in
                    their homes or other buildings. They also use
                    their vehicles for transportation to make the
                    purchases and to store the contraband.
                    Johnson shopped for pseudoephedrine in
                    different stores on the same date. He also
                    violated Iowa Code § 124.213 by purchasing
                    more than 7500 mg pseudoephedrine in a 30 day
                    period.     These are indications that the
                    pseudoephedrine was purchased for use in the
                    manufacture of methamphetamine.
                         A review of Johnson’s criminal history
                   shows drug related convictions.
             Doc. No. 70-3 at 4-5.

                    In the magistrate’s Endorsement on the search warrant
             application, she indicated she relied on Deputy Timer’s
             affidavit and also on sworn testimony taken from the deputy.
             As the abstract of the officer’s testimony, the magistrate
             incorporated the deputy’s Affidavit. Doc. No. 70-3 at 6. The
             magistrate found the information presented justified probable
             cause, and she issued the search warrant. Id.
Report and Recommendation at 7-9, 11-12.
      Upon review of the record, the court adopts all of Judge Zoss’s factual findings that
have not been objected to by defendant Johnson.


                                II. LEGAL ANALYSIS
                                A. Standard Of Review
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):


                                            8


   Case 5:08-cr-04006-MWB-LTS         Document 94      Filed 05/14/08    Page 8 of 23
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       De novo review, of course, is nondeferential and generally allows a reviewing court
to make an “independent review” of the entire matter. Salve Regina College v. Russell,


                                             9


   Case 5:08-cr-04006-MWB-LTS          Document 94      Filed 05/14/08     Page 9 of 23
499 U.S. 225, 238 (1991) (noting also that “[w]hen de novo review is compelled, no form
of appellate deference is acceptable”); see Doe v. Chao, 540 U.S. 614, 620-19 (2004)
(noting de novo review is “distinct from any form of deferential review”). The de novo
review of a magistrate judge’s report and recommendation, however, only means a district
court “‘give[s] fresh consideration to those issues to which specific objection has been
made.’” United States v. Raddatz, 447 U.S. 667, 675 (1980) (quoting H.R. Rep. No. 94-
1609, at 3, reprinted in 1976 U.S.C.C.A.N. 6162, 6163 (discussing how certain
amendments affect 28 U.S.C. § 636(b))). Thus, while de novo review generally entails
review of an entire matter, in the context of § 636 a district court’s required de novo
review is limited to “de novo determination[s]” of only “those portions” or “specified
proposed findings” to which objections have been made. 28 U.S.C. § 636(b)(1); see
Thomas, 474 U.S. at 154 (“Any party that desires plenary consideration by the Article III
judge of any issue need only ask.” (emphasis added)). Consequently, the Eighth Circuit
Court of Appeals has indicated de novo review would only be required if objections were
“specific enough to trigger de novo review.” Branch v. Martin, 886 F.2d 1043, 1046 (8th
Cir. 1989). Despite this “specificity” requirement to trigger de novo review, the Eighth
Circuit Court of Appeals has “emphasized the necessity . . . of retention by the district
court of substantial control over the ultimate disposition of matters referred to a
magistrate.” Belk v. Purkett, 15 F.3d 803, 815 (8th Cir. 1994). As a result, the Eighth
Circuit has been willing to “liberally construe[]” otherwise general pro se objections to
require a de novo review of all “alleged errors,” see Hudson v. Gammon, 46 F.3d 785,
786 (8th Cir. 1995), and to conclude that general objections require “full de novo review”
if the record is concise, Belk, 15 F.3d at 815 (“Therefore, even had petitioner’s objections
lacked specificity, a de novo review would still have been appropriate given such a concise
record.”). Even if the reviewing court must construe objections liberally to require de

                                            10


   Case 5:08-cr-04006-MWB-LTS         Document 94       Filed 05/14/08    Page 10 of 23
novo review, it is clear to this court that there is a distinction between making an objection
and making no objection at all. See Coop. Fin. Assoc., Inc. v. Garst, 917 F. Supp. 1356,
1373 (N.D. Iowa 1996) (“The court finds that the distinction between a flawed effort to
bring objections to the district court’s attention and no effort to make such objections is
appropriate.”). Therefore, this court will strive to provide de novo review of all issues
that might be addressed by any objection, whether general or specific, but will not feel
compelled to give de novo review to matters to which no objection at all has been made.
       In the absence of any objection, the Eighth Circuit Court of Appeals has indicated
a district court should review a magistrate judge’s report and recommendation under a
clearly erroneous standard of review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir.
1996) (noting when no objections are filed and the time for filing objections has expired,
“[the district court judge] would only have to review the findings of the magistrate judge
for clear error”); Taylor v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the
advisory committee’s note to Fed. R. Civ. P. 72(b) indicates “when no timely objection
is filed the court need only satisfy itself that there is no clear error on the face of the
record”); Branch, 886 F.2d at 1046 (contrasting de novo review with “clearly erroneous
standard” of review, and recognizing de novo review was required because objections
were filed). The court is unaware of any case that has described the clearly erroneous
standard of review in the context of a district court’s review of a magistrate judge’s report
and recommendation to which no objection has been filed. In other contexts, however, the
Supreme Court has stated the “foremost” principle under this standard of review “is that
‘[a] finding is “clearly erroneous” when although there is evidence to support it, the
reviewing court on the entire evidence is left with the definite and firm conviction that a
mistake has been committed.’” Anderson v. City of Bessemer City, 470 U.S. 564, 573-74
(1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Thus, the

                                             11


   Case 5:08-cr-04006-MWB-LTS          Document 94       Filed 05/14/08    Page 11 of 23
clearly erroneous standard of review is deferential, see Dixon v. Crete Medical Clinic,
P.C., 498 F.3D 837, 847 (8th Cir. 2007) (noting a finding is not clearly erroneous even
if another view is supported by the evidence), but a district court may still reject the
magistrate judge’s report and recommendation when the district court is “left with a
definite and firm conviction that a mistake has been committed,” U.S. Gypsum Co., 333
U.S. at 395.
       Even though some “lesser review” than de novo is not “positively require[d]” by
statute, Thomas, 474 U.S. at 150, Eighth Circuit precedent leads this court to believe that
a clearly erroneous standard of review should generally be used as the baseline standard
to review all findings in a magistrate judge’s report and recommendation that are not
objected to or when the parties fail to file any timely objections, see Grinder, 73 F.3d at
795; Taylor, 910 F.2d at 520; Branch, 886 F.2d at 1046; see also Fed. R. Civ. P. 72(b)
advisory committee’s note (“When no timely objection is filed, the court need only satisfy
itself that there is no clear error on the face of the record in order to accept the
recommendation.”). In the context of the review of a magistrate judge’s report and
recommendation, the court believes one further caveat is necessary: a district court always
remains free to render its own decision under de novo review, regardless of whether it
feels a mistake has been committed. See Thomas, 474 U.S. at 153-54. Thus, while a
clearly erroneous standard of review is deferential and the minimum standard appropriate
in this context, it is not mandatory, and the district court may choose to apply a less
                        1
deferential standard.


       1
          The Eighth Circuit Court of Appeals, in the context of a dispositive matter
originally referred to a magistrate judge, does not review a district court’s decision in
similar fashion. The Eighth Circuit Court of Appeals will either apply a clearly erroneous
                                                                             (continued...)

                                            12


   Case 5:08-cr-04006-MWB-LTS         Document 94      Filed 05/14/08    Page 12 of 23
       As noted above, defendant Johnson has filed an objection to Judge Zoss’s Report
and Recommendation. The court, therefore, undertakes the necessary review of Judge
Zoss’s recommended disposition of defendant Johnson’s motions to suppress.


       1
         (...continued)
or plain error standard to review factual findings, depending on whether the appellant
originally objected to the magistrate judge’s report and recommendation. See United States
v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) (“Ordinarily, we review a district court’s
factual findings for clear error . . . . Here, however, the record reflects that [the
appellant] did not object to the magistrate’s report and recommendation, and therefore we
review the court’s factual determinations for plain error.” (citations omitted)); United
States v. Looking, 156 F.3d 803, 809 (8th Cir. 1998) (“[W]here the defendant fails to file
timely objections to the magistrate judge’s report and recommendation, the factual
conclusions underlying that defendant’s appeal are reviewed for plain error.”). The plain
error standard of review is different than a clearly erroneous standard of review, see
United States v. Barth, 424 F.3d 752, 764 (8th Cir. 2005) (explaining the four elements
of plain error review), and ultimately the plain error standard appears to be discretionary,
as the failure to file objections technically waives the appellant’s right to appeal factual
findings, see Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994) (stating an appellant
who did not object to the magistrate judge’s report and recommendation waives his or her
right to appeal factual findings, but then choosing to “review[] the magistrate judge’s
findings of fact for plain error”). An appellant does not waive his or her right to appeal
questions of law or mixed questions of law and fact by failing to object to the magistrate
judge’s report and recommendation. United States v. Benshop, 138 F.3d 1229, 1234 (8th
Cir. 1998) (“The rule in this circuit is that a failure to object to a magistrate judge’s report
and recommendation will not result in a waiver of the right to appeal ‘“when the questions
involved are questions of law or mixed questions of law and fact.”’” (quoting Francis v.
Bowen, 804 F.2d 103, 104 (8th Cir. 1986), in turn quoting Nash v. Black, 781 F.2d 665,
667 (8th Cir. 1986))). In addition, legal conclusions will be reviewed de novo, regardless
of whether an appellant objected to a magistrate judge’s report and recommendation. See,
e.g., United States v. Maxwell, 498 F.3d 799, 801 n.2 (8th Cir. 2007) (“In cases like this
one, ‘where the defendant fails to file timely objections to the magistrate judge’s report and
recommendation, the factual conclusions underlying that defendant’s appeal are reviewed
for plain error.’ We review the district court’s legal conclusions de novo.” (citation
omitted)).

                                              13


   Case 5:08-cr-04006-MWB-LTS           Document 94       Filed 05/14/08     Page 13 of 23
                     B. The Primghar Residence Search Warrant
       No party has filed an objection to Judge Zoss’s Report and Recommendation as it
pertains to defendant Johnson’s motion to suppress evidence seized from the Primghar
residence, and it appears to the court upon review of Judge Zoss’s findings and conclusions
as to that part of Judge Zoss’s Report and Recommendation, that there is no ground to
reject or modify them. Therefore, the court accepts that part of Judge Zoss’s Report and
Recommendation with respect to defendant Johnson’s motion to suppress evidence seized
from the Primghar residence, and orders that defendant Johnson’s motion to suppress (Dkt.
#70) is granted.


                    C. The Clay County Property Search Warrant
       As noted above, defendant Johnson has filed objections to that portion of Judge
Zoss’s Report and Recommendation concerning defendant Johnson’s motion to suppress
evidence seized during a search of his property, outbuildings, and curtilage in Clay
County. The court will take up each of defendant Johnson’s objections to Judge Zoss’s
Report and Recommendation seriatim.
       1.     Probable cause to search the Clay County property
       Defendant Johnson initially objects to Judge Zoss’s conclusion that the totality of
the information presented to the state magistrate supported the state magistrate’s probable
cause determination. Defendant Johnson contends that the search warrant application for
the Clay County property was constitutionally deficient because there was insufficient
information to indicate that there was a fair probability that contraband or evidence of a
crime would be found in the places identified in the search warrant application.
       The seminal case of Illinois v. Gates, 462 U.S. 213 (1983), provides the standard
an issuing court must follow in determining whether probable cause supports a search

                                            14


  Case 5:08-cr-04006-MWB-LTS          Document 94      Filed 05/14/08    Page 14 of 23
warrant application and, consequently, the duty of the reviewing court when considering
the propriety of that determination:
              The task of the issuing magistrate is simply to make a
              practical, common-sense decision whether, given all the
              circumstances set forth in the affidavit before him, including
              the "veracity" and "basis of knowledge" of persons supplying
              hearsay information, there is a fair probability that contraband
              or evidence of a crime will be found in a particular place.
Id. at 238.
       The question presented on review of an issuing judicial officer's determination is
not whether the reviewing court would have issued the warrant based on the affidavit as
presented, but whether the court which did issue the warrant had a "'substantial basis for
. . . conclud[ing]' that probable cause existed." Id. at 238-239 (citation omitted). Thus,
a reviewing court does not conduct a de novo review of the issuing judge's determination,
but must instead afford it great deference. Id. at 236. As the United States Supreme Court
explained in Gates:
              [W]e have repeatedly said that after-the-fact scrutiny by courts
              of the sufficiency of an affidavit should not take the form of de
              novo review. A magistrate's "determination of probable
              cause should be paid great deference by reviewing courts."
              [Spinelli v. United States, 393 U.S. 410, 419, 89 S. Ct. 584,
              590, 21 L.Ed. 2d 637 (1969) ]. "A grudging or negative
              attitude toward warrants," [United States v. Ventresca, 380
              U.S. 102, 108, 85 S. Ct. 741, 745-46, 13 L.Ed. 2d 684
              (1965)], is inconsistent with the Fourth Amendment's strong
              preference for searches conducted pursuant to a warrant;
              "courts should not invalidate warrant[s] by interpreting
              affidavit[s] in a hypertechnical, rather than a commonsense,
              manner." Id., at 109, 85 S. Ct. at 746.




                                             15


   Case 5:08-cr-04006-MWB-LTS          Document 94      Filed 05/14/08     Page 15 of 23
Gates, 462 U.S. at 236; see United States v. Hansel, ---F.3d---, 2008 WL 1913886, at *2
(8th Cir. May 2, 2008) (“Whether probable cause to issue a search warrant has been
established is determined by considering the totality of the circumstances, and resolution
of the question by an issuing judge ‘should be paid great deference by reviewing courts.’”)
(quoting United States v. Grant, 490 F.3d 627, 631 (8th Cir. 2007)).
       The Eighth Circuit Court of Appeals has weighed in on this topic as well, most
recently observing that:
              Probable cause to search exists if, under the totality of the
              circumstances, “‘there is a fair probability that contraband or
              evidence of a crime will be found in a particular place.’”
Hansel, ---F.3d---, 2008 WL 1913886, at *2 (quoting United States v. Caswell, 436 F.3d
894, 897 (8th Cir. 2006) (quoting in turn Gates, 462 U.S. at 238)); see also United States
v. Summage, 481 F.3d 1075, 1077 (8th Cir. 2007) (“Probable cause exists, if under the
totality of the circumstances, a showing of facts can be made ‘sufficient to create a fair
probability that evidence of a crime will be found in the place to be searched.’” ) (quoting
United States v. Underwood, 364 F.3d 956, 963 (8th Cir. 2004) (quoting in turn United
States v. Gabrio, 295 F.3d 880, 883 (8th Cir. 2002)); United States v. Wells, 223 F.3d
835, 838 (8th Cir. 2000) (“The evidence as a whole must provide a substantial basis for
a finding of probable cause to support the issuance of a search warrant.”); United States
v. Johnson, 219 F.3d 790, 790 (8th Cir. 2000) ("Probable cause means a fair probability
that contraband or evidence of a crime will be found in a particular place given the
circumstances set forth in the affidavit.") (quoting United States v. Tellez, 217 F.3d 547
(8th Cir. 2000) (in turn quoting United States v. Horn, 187 F.3d 781 (8th Cir. 1999)
(internal quotation marks omitted)); United States v. Gladney, 48 F.3d 309, 312 (8th Cir.
1995) (“Probable cause exists when "there are sufficient facts to justify the belief by a


                                            16


   Case 5:08-cr-04006-MWB-LTS         Document 94       Filed 05/14/08    Page 16 of 23
prudent person that contraband or evidence of a crime will be found in the place to be
searched.” )(quoting United States v. Bieri, 21 F.3d 811, 815 (8th Cir.1994)). Equally
on point is the observation of Justice (then Judge) Kennedy:
              For probable cause to exist, a magistrate need not determine
              that the evidence sought is in fact on the premises to be
              searched, or that the evidence is more likely than not to be
              found where the search takes place. The magistrate need only
              conclude that it would be reasonable to seek the evidence in the
              place indicated in the affidavit.
United States v. Peacock, 761 F.2d 1313, 1315 (9th Cir. 1985), cert. denied, 474 U.S. 847
(1985) (emphasis added in part) (citations omitted).     Where, as here, the issuing state
magistrate relied solely on the affidavit presented to her, “‘only that information which is
found within the four corners of the affidavit may be considered in determining the
existence of probable cause.’”     Gladney, 48 F.3d at 312 (quoting United States v.
Leichtling, 684 F.2d 553, 555 (8th Cir. 1982), cert. denied, 459 U.S. 1201 (1983)).
       Upon review of the record and Judge Zoss’s Report and Recommendation, the court
concludes that Judge Zoss correctly concluded that there was a substantial basis to support
the state magistrate’s finding of probable cause to search defendant Johnson’s property in
Clay County. The court recognizes that the Eighth Circuit Court of Appeals has held that
"punctilious paragraph-by-paragraph dissection of the supporting affidavit" is not the
appropriate standard of review. United States v. Townsley, 843 F.2d 1070, 1076 (8th Cir.
1988); see United States v. Leisure, 844 F.3d 1347, 1354 (8th Cir. 1988) (declining to
“undertake a piecemeal dismemberment of the various paragraphs of the affidavit without
attention to its force as a whole.”). Rather, the court acknowledges that a determination
of probable cause depends on a reading of the affidavit as a whole. Gates, 462 U.S. at 237.
Here, viewing the affidavit in a common sense manner, the court cannot say that the issuing


                                            17


   Case 5:08-cr-04006-MWB-LTS          Document 94      Filed 05/14/08    Page 17 of 23
state magistrate did not have a substantial basis to believe that the items sought in the
warrant would be found at defendant Johnson’s Clay County property. Specifically, the
search warrant application contained information detailing the fact that defendant Johnson
had made five purchases of pseudoephedrine between June 18, 2007 and June 26, 2007, in
which defendant Johnson purchased 10,320 milligrams of pseudoephedrine. This level of
pseudoephedrine purchases exceeded the 7,500 milligrams limit on pseudoephedrine
defendant Johnson could purchase in a 30 day period under Iowa law. See IOWA CODE
§ 126.213A. On July 11, 2007, the date the search warrant was issued, Inv. Timmer and
Lt. Kramer of the O’Brien County Sheriff’s Office went to defendant Johnson’s Clay
County property at 2970 290th Street in Dickens, Iowa. Inv. Timmer spoke with the
tenants of the property, Randy and Kim Berger, who advised that while they did not have
access to a certain Morton-type building on the property, defendant Johnson did have access
to it and frequented that building at least weekly. Furthermore, while the windows of the
building were covered, the tenants of the property showed Inv. Timmer a burn barrel on
the premises, where in plain view, on top of the pile in the burn barrel, were a number of
ripped lithium batteries and empty pseudoephedrine blister packs. These items, the ripped
lithium batteries and empty pseudoephedrine blister packs, were consistent with having been
used in the methamphetamine manufacturing process. The search warrant application
further contained information, drawn from Inv. Timmer’s training and experience, that
pseudoephedrine is a key ingredient in the manufacture of methamphetamine and that the
purchases of pseudoephedrine in violation of Iowa law suggested that the pseudoephedrine
was purchased for use in the manufacture of methamphetamine. Finally, the search warrant
application contained information that defendant Johnson had a criminal history which
included drug related convictions. The court concludes that when all of this information



                                            18


   Case 5:08-cr-04006-MWB-LTS         Document 94      Filed 05/14/08    Page 18 of 23
is considered in the totality, and giving “great deference” to the resolution reached by the
state magistrate, see Hansel, ---F.3d---, 2008 WL 1913886, at *2; Grant, 490 F.3d at 631;
Caswell, 436 F.3d at 897, the information contained within the search warrant application
provides sufficient information to support the state magistrate’s probable cause
determination here. Therefore, this objection is overruled.
       2.     Staleness of the information in the application
       Defendant Johnson also objects to Judge Zoss’s conclusion that the information
contained in the search warrant application was not stale. Defendant Johnson contends that
the information provided by Inv. Timmer was stale and that, as a result, probable cause did
not exist at the time the search warrant was issued.
       “It is axiomatic that probable cause must exist at the time of the search and not
merely at sometime earlier.” United States v. Kennedy, 427 F.3d 1136, 1141 (8th Cir.
2005); see United States v. Formaro, 152 F.3d 768, 771 (8th Cir. 1998); United States v.
Ozar, 50 F.3d 1440, 1446 (8th Cir. 1995). Therefore, a lapse of time, between the
observations of a witness and the issuance of a search warrant “may make probable cause
fatally stale.” United States v. Maxim, 55 F.3d 394, 397 (8th Cir.), cert. denied, 516 U.S.
903 (1995). However, the Eighth Circuit Court of Appeals has instructed that: “‘We have
no ‘fixed formula’ for deciding when information has become stale, but we consider the
nature of the crime being investigated and the property to be searched.’” United States v.
Nieman, ---F.3d---, 2008 WL 860781, at *3 (8th Cir. Apr. 2, 2008) (quoting United States
v. Stevens, 439 F.3d 983, 988 (8th Cir. 2006) (citation omitted)); see Maxim, 55 F.3d at
397. Thus, the passage of time alone is “not always the controlling factor,” since other
factors, such as “the nature of the criminal activity involved and the kind of property
subject to the search,” may also be relevant to the staleness calculus. Maxim, 55 F.3d at
397 (citing United States v. Koelling, 992 F.2d 817, 822 (8th Cir. 1993)).

                                            19


   Case 5:08-cr-04006-MWB-LTS          Document 94      Filed 05/14/08    Page 19 of 23
Moreover,“‘where recent information corroborates otherwise stale information, probable
cause may be found.’” Ozar, 50 F.3d at 1446 (quoting United States v. Macklin, 902 F.2d
1320, 1326 (8th Cir. 1990), cert. denied, 498 U.S. 1031 (1991)). “The passage of time
between the transactions on which a warrant is based and the ensuing search is less
significant when the facts recited indicate activity of a continuous nature.” United States v.
Jones, 801 F.2d 304, 314 (8th Cir.1986); see also United States v. Rugh, 968 F.2d 750 (8th
Cir. 1992). As the Second Circuit Court of Appeals has noted that: “‘[N]arcotics
conspiracies are the very paradigm of the continuing enterprises for which the courts have
relaxed the temporal requirements of non-staleness.’” United States v. Rowell, 903 F.2d
899, 903 (2d Cir. 1990). The Eighth Circuit Court of Appeals has similarly observed that:
“‘In investigations of ongoing narcotic operations, “intervals of weeks or months between
the last described act and the application for a warrant [does] not necessarily make the
information stale.’”” United States v. Smith, 266 F.3d 902, 905 (8th Cir. 2001) (quoting
Formaro, 152 F.3d at 771); United States v. Pitts, 6 F.3d 1366, 1369 (9th Cir. 1993)
(“‘With respect to drug trafficking, probable cause may continue for several weeks, if not
months, of the last reported instance of suspect activity.’”) (quoting United States v.
Angulo-Lopez, 791 F.2d 1394, 1399 (9th Cir. 1986)).
       In this case, the search warrant application reflects an investigation of activities
consistent with drug trafficking. Inv. Trimmer’s review of pseudoephedrine logs of local
pharmacies had unearthed a series of purchases of products containing pseudoephedrine,
a key ingredient in the manufacture of pseudoephedrine, by defendant Johnson, all of which
transpired no later than three weeks before the date the search warrant was issued. All told,
defendant Johnson purchased 10,320 milligrams of pseudoephedrine in a period of less than
ten days. Defendant Johnson’s purchases of products containing pseudoephedrine were not
only suspicious because of the quantity purchased, but also because he made purchases from

                                             20


   Case 5:08-cr-04006-MWB-LTS           Document 94      Filed 05/14/08     Page 20 of 23
different stores on the same date. On June 26, 2007, the pseudoephedrine logs at Spirit
Lake Lewis Drug, Spirit Lake Wal-Mart and Milford Pharmacy reflected that defendant
Johnson had purchased products containing pseudoephedrine from each totaling 5520
milligrams of pseudoephedrine. The search warrant application was further supported by
Inv. Timmer’s observation, in plain view in a burn barrel at defendant Johnson’s Clay
County property, of “a number or ripped lithium batteries, consistent with having been used
in the methamphetamine manufacturing process, along with what appears to be empty
pseudoephedrine blister packs.” These observations occurred on the same day the search
warrant was issued. Finally, defendant Johnson’s tenants for his Clay County property told
Inv. Timmer that defendant Johnson frequented a building on the property “at least
weekly.”
       In this case, given that methamphetamine manufacturing activity was suspected, the
two and one-half weeks lapse since defendant Johnson’s last known purchase of
pseudoephedrine did not negate the existence of probable cause given that on the date the
search warrant was sought law enforcement officers had observed in plain view, at the
location of the proposed search, the remnants of materials used in the manufacture of
methamphetamine. Moreover, law enforcement officers ascertained that defendant Johnson
frequented a building on the property “at least weekly.” Therefore, considering the totality
of the information provided to the state magistrate, the court concludes the search warrant
for defendant Johnson’s Clay County property was not based on stale information. See
Smith, 266 F.3d at 905; Formaro, 152 F.3d at 771; see also United States v. Hartje, 251
F.3d 771, 775 (8th Cir. 2001)(concluding that a drug transaction one month prior to the
search warrant application did not constitute stale information in light of the ongoing nature
of the crime). Therefore, this objection is also overruled.



                                             21


   Case 5:08-cr-04006-MWB-LTS           Document 94      Filed 05/14/08     Page 21 of 23
       3.     Leon good faith
       Finally, defendant Johnson objects to Judge Zoss’s alternative conclusion that even
if the search warrant for defendant Johnson’s Clay County property was not supported by
probable cause, the search is lawful under the good faith exception of United States v. Leon,
468 U.S. 897 (1984). In Leon, the United States Supreme Court held that evidence
obtained pursuant to a subsequently invalidated search warrant need not be excluded from
the prosecution's case in chief if the executing officers acted in objectively reasonable
reliance on the issuing court's determination of probable cause and technical sufficiency.
Id. at 922-23. “[A]bsent allegations that the [issuing judge] was not neutral, ‘suppression
is appropriate only if the officers were dishonest or reckless in preparing their affidavit or
could not have harbored an objectively reasonable belief in the existence of probable
cause.’” United States v. Fulgham, 143 F.3d 399, 401 (8th Cir. 1998) (quoting Leon, 468
U.S. at 926). Here, no evidence exists in the record to suggest that the state magistrate
did not remain neutral and detached when making her probable cause determination.
Moreover, no evidence has been offered which would suggest that the state magistrate
“wholly abandoned [her] judicial role.” See Leon, 468 U.S. at 923 (stating that suppression
remains an appropriate remedy when the issuing judge wholly abandons his judicial role).
Therefore, the court also overrules defendant Johnson’s objection as to Judge Zoss’s Leon
analysis.


                                   III. CONCLUSION
       Therefore, for the reasons set forth above, the court, upon a de novo review of the
record, accepts Judge Zoss’s Report and Recommendation and grants defendant Johnson’s
motion to suppress the evidence seized in the search of the Primghar residence (Dkt. #71)



                                             22


   Case 5:08-cr-04006-MWB-LTS           Document 94      Filed 05/14/08     Page 22 of 23
but denies defendant Johnson’s motion to suppress the evidence seized in the search of the
Clay County property (Dkt. #70).
      IT IS SO ORDERED.
      DATED this 14th day of May, 2008.


                                          __________________________________
                                          MARK W. BENNETT
                                          U. S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA




                                           23


   Case 5:08-cr-04006-MWB-LTS         Document 94      Filed 05/14/08   Page 23 of 23
